                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                  KNOXVILLE DIVISION



   THE STATE OF TENNESSEE, et al.,                     Case No. 3:21-cv-00308

                      Plaintiffs,                      District Judge Charles E. Atchley, Jr.

            v.

   UNITED STATES DEPARTMENT OF
   EDUCATION, et al.,

                      Defendants.



                                       NOTICE OF APPEAL

          Notice is hereby given that all defendants in the above-named case hereby appeal to the

  United States Court of Appeals for the Sixth Circuit from the following preliminary injunction order

  entered in this action: Memorandum Opinion and Order, dated July 15, 2022 (ECF No. 86).

   Dated: September 13, 2022                         Respectfully submitted,

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